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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *


v.                                                *      Criminal Case No. TDC-20-0033


PATRIK MATHEWS                                    *

*      *        *          *         *     *      *      *      *      *      *      *         *

                    MOTION FOR LEAVE TO FILE SEALED MATERIALS

       Patrik Mathews, through his attorney, hereby moves this Honorable Court for leave to

the file the Defendant’s Statement to the Court under seal. As grounds                   therefore, the

defense    states   that       the   Statement contains confidential personal information including

confidential health records.



       WHEREFORE, the defense requests that this Honorable Court grant its motion for leave to

file the Defendant’s Statement to the Court.

                                                  Respectfully submitted,


                                                                 /s/
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